   Case 1:01-cv-12257-PBS Document 7275-1 Filed 10/25/10 Page 1 of 1




                     UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MASSACHUSETTS



IN RE: PHARMACEUTICAL INDUSTRY                    MDL No. 1456
AVERAGE WHOLESALE PRICE                           Master File No.: 01-CV-12257-PBS
LITIGATION                                        Subcategory Case No.: 03-10643

                                                  Judge Patti B. Saris

 THIS DOCUMENT RELATES TO:                      THIS DOCUMENT RELATES TO:
 The City of New York, et al. v. Abbott         State of Iowa v. Abbott Laboratories, et al.
 Laboratories, Inc., et al.


  [PROPOSED] ORDER OF DISMISSAL OF PURDUE PHARMA L.P., THE
PURDUE FREDERICK COMPANY, AND THE PURDUE PHARMA COMPANY

       The stipulation and request for dismissal is hereby GRANTED. All claims in this

action against Defendants Purdue Pharma L.P., The Purdue Frederick Company, and The

Purdue Pharma Company are dismissed with prejudice and without costs to any party.

       SO ORDERED.


DATED: __________________, 2010



                                          _______________________________________
                                          The Honorable Patti B. Saris
                                          Judge
